                                                                                                             Case 2:18-cv-07333-RGK-JEM Document 4 Filed 08/21/18 Page 1 of 1 Page ID #:45


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                                                                                                         7
                                                                                                         8                           UNITED STATES DISTRICT COURT
                                                                                                         9                         CENTRAL DISTRICT OF CALIFORNIA
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




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                                                                                                        11 TACORI ENTERPRISES,                           ) Case No. 2:18-CV-07333
                                                                                                                                                         )
                                                                                                        12                       Plaintiff,              ) CORPORATE DISCLOSURE
                                                                                                                                                         ) STATEMENT
                                                                                                        13           v.                                  )
TUCKER ELLIS LLP




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                                                                                                        14 AGAPE DIAMONDS LLC                            )
                                                                                                                                                         )
                                                                                                        15                       Defendants.             )
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                                                                                                        18           Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, Plaintiff Tacori
                                                                                                        19 Enterprises states that it has no parent corporation, and that no publicly held corporation
                                                                                                        20 owns 10% or more of its stock.
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                                                                                                        22 DATED: August 21, 2018                        Tucker Ellis LLP
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                                                                                                        24                                               By:   /s/Howard A. Kroll
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                                                                                                        26                                                     TACORI ENTERPRISES
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